  Case 0:18-mj-06300-AOV Document 13 Entered on FLSD Docket 07/19/2018 Page 1 of 1
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               United StatesofAm erica                      )
                           V.                               )
                 Adam Edward Tonge                          )     CaseNo. 18-MJ-6300
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                       Defendant                            )
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        llmderstand that1havebeen chargedwith an offense itlacn'm inalcomplaltliled in thiscourt, orcharged with
violating thetermqofprobation orsupervisedreleasein apetition filedin thiscourt.
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32                                                                                                  R.Crim .P.
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        Iap eeto waivem y righttoapreliminary hearing tm derFed. R.Crim .P.5.1orFed.R . Crim .P.32.1.



Date:    07/1@/201q
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